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AQ 91 (Rev 8/01) Criminal Complaint

United States District Court

 

 

 

 

SOUTHERN DISTRICT OF TEXAS
UNITED STATES OF AMERICA McAllen Division |
United States District Court MINAI MP
V. _. . Southern District Of Texas CRI CO LAINT
RODRIGUEZ, Marina Anai FILED
YOB: 1997 . Case Number: ~M
COC: United States OCT 15 2019 - M-19-9.50 |
VALDEZ, Ruby Guadalupe
YOB: 1994 , Clerk’
COC: United States David J. Bradley, Clerk
1 the undersigned complainant, state the tollowing is true and correct to the best of my
knowledge and belief. On or about October 13, 2019 in Hidalgo County, in
the Southern District of | Texas detendant(s) did,

knowing or in reckless disregard of the fact that aliens have come to, entered, or remain in the United States in
violation of law, transports, or moves or attempts to transport or move such aliens within the United States by means
of transportation or otherwise, in furtherance of such violation of law and conspired to bring alien to the United
States disregarding any official action which may later be taken to such alien

in violation of Title 8 United States Code, Section(s) _1324(a)(1)(A)(ii) & 1324(a)(1)(A)(V)

I further state that Iam a(n) Customs and Border Protection Officer_ and that this complaint is based on the
following facts:

Marina Anai RODRIGUEZ a United States citizens along with Ruby Guadalupe VALDEZ attempted to bring illegally into
the United States through the Donna Port of Entry Robernis MATOS-Reynosa, and Yassel BATISTA-Castillo both
citizens and nationals of Cuba, by concealing them in the cargo area of the vehicle and thus avoiding inspection. A
pre-primary routine inspection of the vehicle, revealed two adult males hiding under clothing and blankets. Both
defendants, and both adult males later identified as Robernis MATOS-Reynosa and Yassel BATISTA-Castillo were
secured and escorted into secondary for further inspection.

In secondary, RODRIGUEZ admitted she had knowledge that Robernis MATOS-Reynosa and Yassel BATISTA-Castillo
had no legal documents to enter the United States.

Database queries revealed MATOS-Reynosa and BATISTA-Castillo are citizen and nationals of Cuba with no legal
status to enter the United States.

Continued on the attached sheet and made a part of this oo K* [x] Yes [ | No
Sworn to before me and subscribed in my presence,

CK igngfure of Complainant

 

 

 

Approved By: Aha Dipiazaa Lorenzo Botello
Ay Pai Printed Name of Complainant
October 15, 2019 at Mcallen, Texas LT?
Date City and State
Judge Scott Hacker ;
U.S. Magistrate Judge a cee

 

 

Name and Title of Judicial Officer Signapsfe fudjal Officer
 

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Defendant and driver of the vehicle, Marina Anai RODRIGUREZ stated that she agreed to hide Robernis
MATOS-Reynosa and Yassel BATISTA-Castillo inside the trunk of her vehicle. Defendant stated that she
was driving the vehicle, her cousin Ruby Guadalupe VALDEZ was in the front passenger seat, Robernis
MATOS-Reynosa and Yassel BATISTA-Castillo were sitting in the backseat of the vehicle. Defendant
Marina Anai Rodriguez stated that before they arrived at the Donna Bridge, she stopped and Robernis
MATOS-Reynosa and Yassel BATISTA-Castillo exited the vehicle and got in the trunk cargo area of her
vehicle.

Defendant and passenger of the vehicle, Ruby Guadalupe VALDEZ stated that Robernis MATOS-Reynosa
and Yassel BATISTA-Castillo were staying at her house in Rio Bravo, Tamaulipas, Mexico since Thursday.
Defendant Ruby Guadalupe VALDEZ stated that on Sunday she fell asleep, and her cousin Marina Anai
RODRIGUEZ woke her up and told her that she was going to pick her up so they could come to the
United States. Defendant Ruby Guadalupe VALDEZ stated that she had no knowledge of Robernis
MATOS-Reynosa and Yassel BATISTA-Castillo being in the trunk of the vehicle. ,

Material witness Robernis MATOS-Reynosa on a sworn statement stated that he, and Yassel BATISTA-
Castillo talked about hiding in the trunk area of Marina Anai Rodriguez vehicle. Robernis MATOS-
Reynosa stated that they all agreed to hide in the trunk of Marina Anai Rodriguez vehicle to cross into
the United States illegally. Robernis MATOS-Reynosa stated that before they got to the Donna, Texas
Port of Entry they exited the back seat and got into the trunk of the vehicle which was driven by Marina
Anai Rodriguez. In a photo lineup, Robernis MATOS-Reynosa identified the driver as Marina Anai
Rodriguez and passenger Ruby Guadalupe VALDEZ. Robernis MATOS-Reynosa stated that Marina Anai
Rodriguez and Ruby Guadalupe VALDEZ had knowledge that they were in the trunk of the vehicle.

Material witness Yassel BATISTA-Castillo on a sworn statement stated that he and Robernis MATOS-
Reynosa talk about hiding in the truck area of Marina Anai Rodriguez vehicle. Yassel BATISTA-Castillo
stated that they agreed to hide in the trunk of Marina Ania Rodriguez vehicle to cross into the United
States illegally. Yassel BATISTA-Castillo stated that Marina Ania Rodriguez opened the trunk for them so
they could get in before they left the house in Rio Bravo, Mexico. Yassel BATISTA-Castillo in a photo
lineup identified the driver of the vehicle as Marina Anai Rodriguez and passenger Ruby Guadalupe
VALDEZ. Yassel BATISTA-Castillo stated that the Marina Anai Rodriguez and Ruby Guadalupe VALDEZ
had knowledge that they were in the trunk of the vehicle.
